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                       THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
_____________________________________________________________________________

 ERIC COOMER,

                        Plaintiff,

 v.
                                                          Case No. 1:22-cv-01129-NYW-SBP
 MICHAEL J. LINDELL, FRANKSPEECH LLC,
 AND MY PILLOW, INC.,

                        Defendants.

_____________________________________________________________________________

                  DEFENDANTS’ AUTHORITIES FOR DEFENSES
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       Pursuant to the Court’s minute order following the parties’ final pretrial conference (Doc. 307),

the following authorities are submitted by Defendants Michael J. Lindell, Frankspeech LLC, and My

Pillow, Inc. in the above-captioned case.


       Defendants did not engage in defamation and there is no “Actual Malice”

        See Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 513, 515, 111 S.Ct. 2419, 115 L.Ed.2d
447 (1991) (evaluating the publication by its impact on a “reasonable reader”); Knapp v. Post Printing &
Pub. Co., 111 Colo. 492, 498-499, 144 P.2d 981, 984 (1943) (a publication “must be measured by its
natural and probable effect upon the mind of the average lay reader”).

        Fry v. Lee, 2013 COA 100, ¶ 38, 408 P.3d 843, 851, citing Burns v. McGraw-Hill Broad. Co., 659
P.2d 1351, 1360 (Colo. 1983) (“the entire published statement must be examined in context, not just the
objectionable word or phrase”).

     Allegedly defamatory language must be examined in the context in which it is uttered. Burns v.
McGraw-Hill Broad. Co., 659 P.2d 1351, 1360 (Colo. 1983).

       Burns v. McGraw-Hill Broad. Co., 659 P.2d 1351, 1360 (Colo. 1983) (“In Information Control
Corp. v. Genesis One Computer Corp., 611 F.2d 781 (9th Cir.1980), the Ninth Circuit adopted an
analysis which identified three factors to examine when speech which might be considered protected
opinion is in issue: First, whether the statement complained of is “cautiously phrased in terms of
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apparency.” Id. at 784. … Second, the entire published statement must be examined in context, not just
the objectionable word or phrase. Third, all the circumstances surrounding the statement, including the
medium through which it is disseminated and the audience to whom it is directed, should be considered.
We find the Ninth Circuit's approach a better way to protect both free speech and reputation than the test
applied by the court of appeals in this case.

        ‘In determining whether words are libelous, they are to be given their ordinary and popular
meaning; and if they are susceptible of two meanings, one libelous and the other innocent, the former is
not to be adopted and the latter rejected as a matter of course, but it must be left to the jury to determine
in what sense they are used.’ Knapp v. Post Printing & Pub. Co., 111 Colo. 492, 499, 144 P.2d 981, 984
(1943) (internal citation omitted).

        Substantial truth is an absolute defense to a defamation claim. Fry v. Lee, 2013 COA 100, ¶ 22,
408 P.3d 843, 848; citing Gomba v. McLaughlin, 180 Colo. 232, 235, 504 P.2d 337, 338 (1972)
(“Furthermore, ‘[a] defendant asserting truth as a defense in a libel action is not required to justify every
word of the alleged defamatory matter; it is sufficient if the substance, the gist, the sting, of the matter is
true.’” Citation omitted.)

        New York Times Co. v. Sullivan, 376 U.S. 254, 269, 84 S. Ct. 710, 720, 11 L. Ed. 2d 686 (1964);
citing Roth v. United States, 354 U.S. 476, 484, 77 S.Ct. 1304, 1308, 1 L.Ed.2d 1498 (“The
constitutional safeguard, we have said, ‘was fashioned to assure unfettered interchange of ideas for the
bringing about of political and social changes desired by the people.’”)

        “The constitutional guarantees require, we think, a federal rule that prohibits a public official
from recovering damages for a defamatory falsehood relating to his official conduct unless he proves
that the statement was made with ‘actual malice’—that is, with knowledge that it was false or with
reckless disregard of whether it was false or not.” New York Times Co. v. Sullivan, 376 U.S. 254, 279–
80, 84 S. Ct. 710, 726, 11 L. Ed. 2d 686 (1964) (discussing the danger of self-censorship based on
provisions that demand all speech criticizing government be “true”).

        New York Times Co. v. Sullivan, 376 U.S. 254, 288, 84 S. Ct. 710, 730, 11 L. Ed. 2d 686 (1964)
(noting the proposition that alleged defamatory statements at issue must be “of and concerning” the
plaintiff).

        NY Times v. Sullivan, 376 U.S. 254 (1968); Philadelphia Newspapers, Inc. v. Hepps, 475 U.S. 767,
779 n.4 (1986) (burden on plaintiff to show that publisher was aware of the likelihood that he was
circulating false information).

       St. Amant v. Thompson, 390 U.S. 727, 731, 88 S. Ct. 1323, 1325, 20 L. Ed. 2d 262 (1968)
(“These cases are clear that reckless conduct is not measured by whether a reasonably prudent man
would have published, or would have investigated before publishing. There must be sufficient evidence
to permit the conclusion that the defendant in fact entertained serious doubts as to the truth of his


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publication. Publishing with such doubts shows reckless disregard for truth or falsity and demonstrates
actual malice.”)

        St. Amant v. Thompson, 390 U.S. 727, 730, 88 S. Ct. 1323, 1325, 20 L. Ed. 2d 262 (1968) (a
public figure plaintiff fails to prove reckless disregard even where a defendant (1) had no personal
knowledge of plaintiff’s activities, (2) relies solely on a third party’s statements, (3) fails to verify
information with those who may have known specific facts, (4) gives no consideration to whether or not
the statements defamed the plaintiff and continues heedless of the consequences, and (5) mistakenly
believes he has no responsibility for the broadcast that only quoted a third party’s statements.)

        Curtis Pub. Co. v. Butts, 388 U.S. 130, 153, 87 S. Ct. 1975, 1991, 18 L. Ed. 2d 1094 (1967)
(discussing prior cases where plaintiffs “were permitted to recover in libel only when they could prove
that the publication involved was deliberately falsified, or published recklessly despite the publisher's
awareness of probable falsity. Investigatory failures alone were held insufficient to satisfy this
standard.”)

       Gertz v. Robert Welch, Inc., 418 U.S. at 349, 94 S.Ct. 2997 (plaintiff required to prove case under
actual malice standard may not recover punitive damages unless they prove actual malice)

        As the Tenth Circuit has recognized, a defamation plaintiff's actual-malice burden is to show “
‘that the defendant realized that his statement was false or that he subjectively entertained serious doubt
as to the truth of his statement.’ ” Hardin v. Santa Fe Reporter, Inc., 745 F.2d 1323, 1326 (10th Cir.1984)
(quoting Bose Corp. v. Consumers Union of United States, Inc., 466 U.S. 485, 511 n. 30, 104 S.Ct. 1949,
80 L.Ed.2d 502 (1984)).

       Actual malice must be shown by clear and convincing evidence. Anaya v. CBS Broad. Inc., 626 F.
Supp. 2d 1158, 1194 (D.N.M. 2009); citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255–56, 106
S.Ct. 2505, 91 L.Ed.2d 202 (1986).

      Garrison v. State of Louisiana, 379 U.S. 64, 74, 85 S.Ct. 209, 216, 13 L.Ed.2d 125 (1964)
(emphasizing that there must be a showing that a false publication was made with a ‘high degree of
awareness of probable falsity.’)

        Curtis Publishing Co. v. Butts, 388 U.S. 130, 153, 87 S.Ct. 1975, 1991, 18 L.Ed.2d 1094 (1967)
(Harlan, J. emphasis that evidence of either deliberate falsification or reckless publication ‘despite the
publisher's awareness of probable falsity’ was essential to recovery by public officials in defamation
actions).

        Anaya v. CBS Broad. Inc., 626 F. Supp. 2d 1158, 1195 (D.N.M. 2009) (discussing Hardin v. Santa
Fe Reporter, Inc., 745 F.2d at 1324 – 26, where finding of negligence in publication was shown through
investigatory failures and source’s false statements “not based on fact” and “self-aggrandizement”, none
of these rose to the level of reckless disregard).


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        Weber v. Woods, 334 N.E.2d 857 (Ill. App. 1st Dist. 1975) (granting summary judgment to
television station owner because candidate for sheriff was merely a participant in a television talk show
and there was no showing that the station owner had acted with actual malice)

        Old Dominion Branch No. 496 v. Austin, 418 U.S. 264, 281–82, 94 S.Ct. 2770, 41 L.Ed.2d 745
(1974) (stating that ill will toward the plaintiff or bad motives are not elements of actual malice and are
insufficient standing alone to support a finding of actual malice).

        Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1042–43 (10th Cir. 2013);
citing Tavoulareas v. Piro, 817 F.2d 762, 795 (D.C.Cir.1987) (a publisher's “adversarial stance” may be
“fully consistent with professional, investigative reporting” and is not necessarily “indicative of actual
malice” (quotations omitted)).

       See Fink v. Combined Commc'ns Corp., 679 P.2d 1108, 1111 (Colo.App.1984) (stating a publisher
“without a high degree of awareness of their probable falsity, may rely on statements made by a single
source even though they reflect only one side of the story” (quotations omitted)).

        Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1042 (10th Cir. 2013)
(publisher not required to accept denials of allegations as conclusive nor is publisher required to prefer
denials over apparently creditable accusations); accord Seible v. Denver Post Corp., 782 P.2d 805, 809
(Colo.App.1989)

        Harte–Hanks, 491 U.S. at 691 n. 37, 109 S.Ct. 2678 ((“[T]he press need not accept denials,
however vehement; such denials are so commonplace in the world of polemical charge and countercharge
that, in themselves, they hardly alert the conscientious reporter to the likelihood of error.” (quotation
omitted)). (1989). “The phrase ‘actual malice’ is unfortunately confusing in that it has nothing to do with
bad motive or ill will.” Harte-Hanks Commc'ns, Inc., 491 U.S. at 667 n. 7.

        Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1045–46 (10th Cir. 2013) (no
actual malice even with finding that publisher may have had motive to harm plaintiff (at 1042); and where
a publisher conducted his own investigation even when he had information that would give reason to doubt
the accuracy of statements):

       Even assuming, however, that a publisher has obvious reason to doubt the accuracy of a
       story, no actual malice can be inferred should the publisher act reasonably to dispel the
       doubt. See Masson v. New Yorker Magazine, Inc., 960 F.2d 896, 900 (9th Cir.1992). There
       is evidence Bensinger did exactly that. He personally interviewed Manuel Mijangos and
       Jose Paz Aguirre, two of the Stranded Workers, who confirmed they were told by Leno
       they were brought to Colorado to work for Spacecon. These confirmations were consistent
       with Bensinger's knowledge that Spacecon had used Leno as a labor broker, and that Leno
       brought workers to the United States from Mexico. These confirmations were also
       consistent with allegations made by workers at a separate work site, the Residences at Little


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       Nell. Laborers at the Little Nell site alleged they were mistreated by both Leno and
       Spacecon and were not paid for “their short stints on the job.”10 The reporting on the
       allegations at Little Nell certainly adds credence to Leno's assertions Spacecon was
       involved with the Stranded Workers.

Spacecon Specialty Contractors, LLC v. Bensinger, 713 F.3d 1028, 1045–46 (10th Cir. 2013).

        Fink v. Combined Commc'ns Corp., 679 P.2d 1108, 1111 (Colo. App. 1984) (“Although a complete
failure to investigate sources of corroboration of published statements may be evidence of actual malice,
where an adequate investigation is conducted it is unnecessary that the truth of each and every statement
be supported by the evidence.” (citations omitted))

        Fink v. Combined Commc'ns Corp., 679 P.2d 1108, 1111 (Colo. App. 1984) (“a reporter, without a
‘high degree of awareness of their probable falsity,’ may rely on statements made by a single source even
though they reflect only one side of the story without fear of libel prosecution ....”, citing New York Times
Co. v. Connor, 365 F.2d 567 (5th Cir.1966)).

       Fink v. Combined Commc'ns Corp., 679 P.2d 1108, 1111 (Colo. App. 1984); citing Burns v.
McGraw-Hill Broadcasting Co., Inc., supra; Willis v. Perry, 677 P.2d 961 (Colo.App.1983) (“The test for
determining whether statements are published with reckless disregard is whether there is sufficient
evidence to permit the conclusion that the defendant in fact entertained serious doubts as to the truth of
his publication.” (internal quotations omitted)).

       Manuel v. Fort Collins Newspapers, Inc., 661 P.2d 289 (Colo.App.1982) (cert. denied March 7,
1983) (ill will and bad motive toward the plaintiff are not elements of actual malice).

        New York Times Co. v. Sullivan, 376 U.S. 254, 271–72, 84 S. Ct. 710, 721, 11 L. Ed. 2d 686
(1964) (discussing that even erroneous or false statements must be protected expression to survive in
public debate); citing N.A.A.C.P. v. Button, 371 U.S. 415, 433, 83 S.Ct. 328, 338, 9 L.Ed.2d 405.

       Respondeat Superior / Vicarious Liability

Murray v. Bailey, 613 F. Supp. 1276, 1281 (N.D. Cal. 1985):

       Plaintiff cannot recover in this action without proving each defendant acted with actual
       malice as to each purported defamation. Hoffman v. Washington Post Co., 433 F.Supp.
       600, 605 (D.D.C.1977), aff'd, 578 F.2d 442 (D.C.Cir.1978). As the Arizona Supreme Court
       stated in Phoenix Newspapers, Inc. v. Church, 24 Ariz.App. 287, 537 P.2d 1345, 1360
       (1975), appeal dismissed, 425 U.S. 908, 96 S.Ct. 1502, 47 L.Ed.2d 759 (1976), “We
       therefore start with the premise that under Sullivan, apart from the application of
       respondeat superior, an individual cannot be held liable unless the jury finds that the
       individual himself has been actuated by actual malice (knowledge of falsity).”


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       The stringent standards required by the First Amendment make application of an agency
       theory inappropriate. However, even if an agency theory were generally proper, it would
       be improper on the facts here. The gravity of Bailey's television accusations exceeded that
       of any that were published. Plaintiff has put forward no evidence to suggest that Stein &
       Day could expect that Bailey would accuse Murray of a conviction for drunk driving. The
       nexus is simply too weak to support the defamation claim. Thus, summary judgment in
       favor of Stein & Day and against Murray is granted on all claims.

Respondeat Superior:

Stokes v. Denver Newspaper Agency, LLP, 159 P.3d 691, 693 (Colo. App. 2006) (“Under the respondeat
superior doctrine, an employer is liable for torts of an employee acting within the scope of employment .
. . if the employee's conduct was motivated by an intent to serve the employer's interests and connected to
acts the employee was authorized to perform.”) (quoting Grease Monkey Int'l, Inc. v. Montoya, 904 P.2d
468 (Colo.1995)).

Agency – Actual authority:

State Farm Mut. Auto. Ins. Co. v. Johnson, 396 P.3d 651, 656 (Colo. 2017) (quoting Restatement (Third)
Agency, § 2.01 (2006) (“[A]n agent acts with actual authority when, at the time of taking action that has
legal consequences for the principal, the agent reasonably believes, in accordance with the principal's
manifestations to the agent, that the principal wishes the agent so to act.”))

Agency – Apparent authority:

Villalpando v. Denver Health & Hosp. Auth., 181 P.3d 357, 363 (Colo. App. 2007) (to establish apparent
authority, plaintiff must provide proof of “written or spoken words or other conduct of the principal which,
reasonably interpreted, causes a person to believe that the principal consents to have the act done on his
behalf by a person purporting to act for him.”) (quoting Lucero v. Goldberger, 804 P.2d 206, 209 (Colo.
App. 1990)).

       Plaintiff’s claims are barred by Section 230 of the Communications Decency
       Act of 1996 (47 U.S.C. § 230)

       47 U.S.C. § 230(c)(1) (“No provider or user of an interactive computer service shall be treated as
the publisher or speaker of any information provided by another information content provider.”)

       47 U.S.C. § 230(f)(2) (“The term “interactive computer service” means any information service,
system, or access software provider that provides or enables computer access by multiple users to a
computer server, including specifically a service or system that provides access to the Internet and such
systems operated or services offered by libraries or educational institutions.”)

       47 U.S.C. § 230(f)(3) (“The term “information content provider” means any person or entity that


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is responsible, in whole or in part, for the creation or development of information provided through the
Internet or any other interactive computer service.”)

        Klayman v. Zuckerberg, 753 F.3d 1354, 410 (D.C. Cir. 2014), cert. denied, 574 U.S. 1012 (holding
that because social-networking website was a service that provided information to “multiple users” by
giving them computer access to the computer servers that hosted the website, the website constituted an
“interactive computer service” for purposes of the Communications Decency Act)

       Ben Ezra, Weinstein, & Co., Inc. v. Am. Online Inc., 206 F.3d 980, 985 (10th Cir. 2000) (holding
that operator of interactive computer service was not “information content provider” with respect to
inaccurate information published on its stock quotation service, and thus qualified for immunity under the
Communications Decency Act; rejecting plaintiff’s argument that defendant information content provider
worked so closely with the providers of the inaccurate stock information that defendant became an
“information content provider” under the Act)

        Carafano v. Metrosplash.com, Inc., 339 F.3d 1119, 1122, 1125 (9th Cir. 2003) (explaining that,
through Section 230, “Congress granted most Internet services immunity from liability for publishing
false or defamatory material so long as the information was provided by another party”; holding that, even
assuming defendant could be considered an information content provider, Section 230 would still prevent
treating defendant as a publisher or speaker unless it “created or developed the particular information at
issue.”).

       Lindell, My Pillow, Inc. and FrankSpeech were not the cause or substantial cause of Plaintiff’s
       damages and damages should be mitigated by Plaintiff’s own conduct and reputation.

        Williams v. District Court, Second Judicial Dist., City and Cnty. of Denver, 866 P.2d 908, 911–12
(Colo.,1993) (“Moreover, a defendant in a defamation action may present any evidence which tends to
mitigate damages. [] Such evidence can include any publications by third persons dealing with the same
subject, made before or at about the same time as the date of the publishing by the defendant. In this case,
information concerning his past sexual history may lead to evidence of Williams' reputation, and whether
it has been harmed by the alleged actions of the defendants.”)

        Macsenti v. Becker, 2237 F.3d 1223, 1234 (10th Cir. 2001) (where plaintiff sued for negligence
and intentional infliction of emotional distress, judge properly instructed the jury to award damages only
once for each item of injury)

       Where appropriate, “fault” of nonparties must be considered. See Slack v. Farmers Ins. Exch., 5
P.3d 280 (Colo. 2000) (section 13-21-111.5, C.R.S., requires the pro rata distribution of civil liability
among intentional and negligent tortfeasors who jointly cause indivisible injuries)

      Sack on Defamation, §§ 10.5.3 & 10.5.5.2 (3d ed. 2007) (First Amendment prohibits the award of
damages for truthful statements in same article causing injury to his reputation and “[t]he fact plaintiff



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already had a bad reputation tends to show that his or her reputation has not been substantially affected by
additional derogatory communication”).


       Dated: May 5, 2025.

                                              Respectfully Submitted,

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                                              LLC, AND MICHAEL LINDELL




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                                         CERTIFICATE OF SERVICE

        I hereby certify that on this 5th day of May 2025, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following email addresses:


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